Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2050 Page 1 of 38




 1 George M. Lee (SBN 172982)
   SEILER EPSTEIN LLP
 2
   275 Battery Street, Suite 1600
 3 San Francisco, California 94111
 4 Phone: (415) 979-0500
   Fax: (415) 979-0511
 5 Email: gml@seilerepstein.com
 6
   John W. Dillon (SBN 296788)
 7 GATZKE DILLON & BALLANCE LLP
 8 2762 Gateway Road
   Carlsbad, California 92009
 9 Phone: (760) 431-9501
10 Fax: (760) 541-9512
   Email: jdillon@gdandb.com
11
12 Attorneys for Plaintiffs
13
14                               UNITED STATES DISTRICT COURT
15
                       FOR THE SOUTHERN DISTRICT OF CALIFORNIA
16
17 JAMES MILLER, et al.,                                Case No. 3:19-cv-01537-BEN-JLB
18                                                      Hon. Roger T. Benitez
                           Plaintiffs,                  Magistrate Hon. Jill L. Burkhardt
19
          vs.                                           PLAINTIFFS’ MEMORANDUM OF
20                                                      POINTS AND AUTHORITIES IN
21 XAVIER BECERRA, in his official                      SUPPORT OF MOTION FOR
                                                        PRELIMINARY INJUNCTION
22 capacity as Attorney General of
   California, et al.,
23                                                      Complaint filed: August 15, 2019
24                     Defendants.                      Amended Complaint filed:
                                                        September 27, 2019
25
26                                                      Date: Thursday, January 16, 2020
27                                                      Time: 10:00 a.m.
                                                        Department: Courtroom 5A (5th floor)
28


                PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                               (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2051 Page 2 of 38




 1                                                 TABLE OF CONTENTS
 2
      I.    INTRODUCTION ................................................................................................ 1
 3
      II.   FACTUAL BACKGROUND .............................................................................. 2
 4
            A. California’s Assault Weapon Control Act ...................................................... 2
 5          B. Plaintiff’s Injuries ............................................................................................ 6
 6 III. Legal Standard .................................................................................................... 10
 7 IV. Argument ............................................................................................................ 10
 8        A. Plaintiffs Are Likely to Succeed on the Merits. ....................................... 10
 9                        1. The AWCA’s Complete Ban on Commonly Owned Firearms
10                           Violates the Second Amendment Under Heller’s
                             Categorical Analysis. .................................................................... 11
11
                          2. The AWCA Bans Arms in “Common Use.” ................................ 13
12
                          3. Firearms Covered by California’s Ban Are
13                           Well-Suited for Self-Defense. ....................................................... 15
14                        4. Firearms Covered by California’s Ban Are
15                           Well-Suited for Militia Service. .................................................... 15
                          5. California’s “Assault Weapons” Ban Does Not Fall
16
                             Within Any Historically Permissible Limit on the Right
17                           to Keep and Use Arms .................................................................. 16
18                        6. The AWCA Fails the Ninth Circuit’s Two-Part Test ................... 18
19                              a)     Burden on the Second Amendment ...................................... 19
20                              b) Heightened Scrutiny Imposes a High Bar for the State
                                   when Defending Infringements of Second Amendment
21
                                   Rights ...................................................................................... 20
22                              c) There is No Reasonable Fit Between the Government’s
23                                 Interests and the AWCA ........................................................ 22
24               B. All Other Preliminary Injunction Factors Favor Enjoining
                    The AWCA .............................................................................................. 27
25
                          1.     Likelihood of irreparable harm absent preliminary relief ........... 28
26
                          2.     The Balance of Equities Tips in Plaintiffs’ Favor....................... 29
27
                          3.     An Injunction Is in The Public Interest ....................................... 29
28
                                                                      ii
                    PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                                   (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2052 Page 3 of 38




 1                                            TABLE OF CONTENTS
 2 V. CONCLUSION .................................................................................................... 30
 3
 4
 5
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                 iii
                   PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                                  (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2053 Page 4 of 38




 1                                           TABLE OF AUTHORITIES
 2   Cases
 3   Alliance for the Wild Rockies v. Cottrell
        632 F.3d 1127, 1134-35 (9th Cir. 2011)....................................................... 10, 28
 4
 5   Am. Trucking Ass’ns, Inc. v. City of Los Angeles
       559 F.3d 1046 (9th Cir. 2009) ............................................................................ 10
 6
     Ashcroft v. Free Speech Coal.
 7       535 U.S. 234 (2002) ......................................................................................... 24
 8   Bauer v. Becerra
 9      858 F.3d 1216, 1221 (9th Cir. 2017) ................................................................. 19

10   Buckley v. Valeo
        424 U.S. 1 (1976) .............................................................................................. 22
11
     Caetano v. Massachusetts
12     136 S. Ct. 1027 (2016)........................................................................................ 12
13   Central Hudson Gas & Electric Corp. v. Public Serv. Comm’n
14   447 U.S. 557 (1980)................................................................................................ 21
     cf. Wrenn v. D.C.
15
         864 F.3d 650, 666 (D.C. Cir. 2017)................................................................... 12
16
     City of Los Angeles v. Alameda Books, Inc.
17      535 U.S. 425 (2002) ..................................................................................... 23, 24
18   District of Columbia v. Heller,
19      554 U.S. 570 (2008) .................................................................................... passim
     Duncan v. Becerra
20      265 F. Supp.3d 1106 (S.D. Cal. 2017) ............................................................... 16
21   Duncan v. Becerra,
22     366 F. Supp.3d 1131 (S.D. Cal. 2019) ......................................... 1, 11, 22, 23, 26
23   Edenfield v. Fane
     507 U.S. 761 (1993) ........................................................................................... 21, 22
24
     Elrod v. Burns
25   427 U.S. 347 (1976) ................................................................................................. 27
26   Ezell v. City of Chicago
27      651 F.3d 684, 703 (7th Cir. 2011) ................................................................ 18, 28
28
                                                                  iv
                PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                               (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2054 Page 5 of 38




 1                                          TABLE OF AUTHORITIES
 2   Cases
     Friedman v. City of Highland Park
 3
        784 F.3d 406 (7th Cir. 2015) .............................................................................. 26
 4
     Heller v. District of Columbia
 5     670 F.3d 1244 (2011) ....................................................................... 12, 13, 14, 17
 6   Jackson v. City of San Francisco
        746 F.3d 953 (9th Cir. 2014) ........................................................................ 19, 20
 7
     Klein v. City of San Clemente
 8
        584 F.3d 1196 (9th Cir. 2009) ............................................................................ 29
 9   Mance v. Sessions
10     896 F.3d 699 (5th Cir. 2018) ............................................................................. 20
11   McDonald v. City of Chicago
       561 U.S. 742 (2010) ......................................................................... 10, 11, 13, 18
12
     McCutcheon v. FEC
13     134 S. Ct. 1434 (2014)........................................................................................ 22
14   Monterey Mech. Co. v. Wilson
15     125 F.3d 702 (9th Cir. 1997) .............................................................................. 28
16   Melendres v. Arpaio
       695 F.3d 990 (9th Cir. 2012) .............................................................................. 27
17
     Ohralik v. Ohio State Bar Ass’n
18     436 U.S. 447 (1978) ........................................................................................... 22
19   Parker v. District of Columbia
20     478 F.3d 370 (D.C. Cir. 2007)............................................................................ 19
21   Pena v. Lindley
       898 F.3d 969 (9th Cir. 2018) ..................................................................................
22
     R.A.V. v. City of St. Paul
23       505 U.S. 377 (1992) .......................................................................................... 20
24   Robb v. Hungerbeeler
25     370 F.3d 735 (8th Cir. 2004) .............................................................................. 24

26   Rodriguez v. Robbins
       715 F.3d 1127 (9th Cir. 2013) ............................................................................ 28
27
     Rupp v. Becerra
28     401 F. Supp. 3d 978 (C.D. Cal. 2019) .................................................... 22, 23, 25
                                                                 v
                PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                               (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2055 Page 6 of 38




 1                                              TABLE OF AUTHORITIES
 2   Cases
     Se. Promotions Ltd. v. Conrad
 3
       420 U.S. 546 (1975) ............................................................................................. 24
 4
     Silveira v. Lockyer
 5       312 F.3d 1052 (9th Cir. 2002) ........................................................................ 5, 11
 6   Silvester v. Becerra
         138 S. Ct. 945 (2018).......................................................................................... 19
 7
     Silvester v. Harris
 8
         834 F.3d 816 (9th Cir. 2016) ............................................................................... 20
 9   Stanley v. Georgia
10      394 U.S. 557 (1969) ........................................................................................... 24
11   Staples v. United States
        511 U.S. 600 (1994) ........................................................................................... 17
12
     Turner Broadcasting System, Inc. v. FCC
13      512 U.S. 622 (1994) ........................................................................................... 26
14   Tyler v. Hillsdale County Sheriff’s Dept.
15      837 F. 3d 678 (6th Cir. 2016) ............................................................................. 20
16   United States v. Chester
       628 F.3d 673 (4th Cir. 2010) .............................................................................. 20
17
     United States v. Miller
18     307 U.S. 174 (1939) .................................................................................... 15, 16
19   United States v. Chovan
20     735 F.3d 1127 (9th Cir. 2013) ................................................................ 18, 19, 21
21   Valle del Sollnc. v. Whiting
        732 F.3d 1006 (9th Cir. 2013) ...................................................................... 28, 29
22
     Vincenty v. Bloomberg
23      476 F.3d 74 (2d Cir. 2007) ................................................................................. 24
24   Winter v. Natural Res. Defense Council, Inc.
25     555 U.S. 7 (2008)............................................................................................ 4, 10

26   California Penal Code
27   § 16740....................................................................................................................... 2
28   § 17170 ....................................................................................................................... 4
                                                                      vi
                 PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                                (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2056 Page 7 of 38




 1                                              TABLE OF AUTHORITIES
     California Penal Code
 2
     § 17180 ....................................................................................................................... 4
 3
     § 18005(c) ...................................................................................................... 6
 4
     § 30500 ....................................................................................................................... 2
 5
     § 30510 (former § 12276) .......................................................................................... 2
 6
     § 30515 ....................................................................................................................... 2
 7
     § 30515(a) .................................................................................................................. 2
 8
     § 30515(a)(1)(A)-(F) .................................................................................................. 4
 9
     § 30515(a)(2).......................................................................................................... 2, 3
10
     § 30515(a)(3).............................................................................................................. 4
11   § 30515(a)(4)-(8).................................................................................................... 3, 8
12   § 30515(b) .................................................................................................................. 2
13   § 30600(a) .................................................................................................................. 6
14   § 30800(a)-(d) ............................................................................................................ 6
15   § 30605(a) .................................................................................................................. 5
16   Assembly Bills
17   Assembly Bill 1135 ................................................................................................... 2
18   Senate Bills
19   Senate Bill 263 (1991-92 Reg. Sess.) ........................................................................ 2
20   Senate Bill 880 ........................................................................................................... 2
21   California Code of Regulations
22   11 C.C.R. § 5174(gg) ................................................................................................. 5

23   11 C.C.R. § 5174(r) ................................................................................................... 3
     11 C.C.R. § 5174(rr) .................................................................................................. 4
24
     11 C.C.R. 5174(t) ....................................................................................................... 5
25
     11 C.C.R. § 5459-60 .................................................................................................. 3
26
     11 C.C.R. § 5469-71 .................................................................................................. 3
27
     11 C.C.R. §§ 5471(a-b), (f), (k), (m-n), and (p) ........................................................ 2
28
                                                                      vii
                 PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                                (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2057 Page 8 of 38




 1                            TABLE OF AUTHORITIES
     California Code of Regulations
 2
     11 C.C.R. § 5471(q) ................................................................................................... 3
 3
     11 C.C.R. § 5472-78 .................................................................................................. 3
 4
     11 C.C.R. § 5499 ....................................................................................................... 2
 5
     Code
 6
     26 U.S.C. § 5801............................................................................................. 4
 7
     Other Authorities
 8
     11A Charles Alan Wright, et al.
 9   Federal Practice and Procedure
10   § 2948.1 (2d ed. 1995) .................................................................................................

11   California’s Roberti-Roos Assault Weapons Control Act of 1989 (AWCA) ........... 2
     Public Safety and Recreational Firearms Use Protection Act
12
     103rd Congress (1993-1994) ..................................................................................... 17
13
     David B. Kopel & Joseph G.S. Greenlee,
14   The Federal Circuits’ Second Amendment Doctrines,
15   61 ST. LOUIS U. L.J. 193, 303–04 (2017) .................................................................. 12
     David B. Kopel and Joseph G. S. Greenlee,
16
     The Second Amendment Rights of Young Adults,
17   43 S. ILL. U. L.J. 495 (2019) ...................................................................................... 16
18
19
20
21
22
23
24
25
26
27
28
                                                                  viii
                 PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                                (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2058 Page 9 of 38




 1 I.     INTRODUCTION
 2      Semiautomatic firearms with various popular characteristics are among the most
 3 common arms in the country. And among some of the most common characteristics of
 4 such firearms are ammunition magazines that can be removed and that can hold more
 5
     than ten rounds, different types of ergonomic grips, adjustable stocks, and muzzle
 6
     devices that reduce flash. The State of California is one of only six states to single out
 7
     and ban some of the most popular firearms in the nation because they possess such
 8
 9 common characteristics. The State disparagingly and arbitrarily calls the entire class of
10 such firearms “assault weapons,” and imposes severe penalties for their possession,
11 transfer, and use for otherwise lawful purposes. But forty-four States impose no
12 prohibitions based on such common characteristics. Indeed, law-abiding citizens
13 throughout the country own tens of millions of such firearms and use them for lawful
14
   purposes, including self-defense, proficiency training, sport, and hunting. And these
15
   firearms—neither uniquely dangerous nor unusual—are rarely used in crime.
16
       California’s ban on this common class of firearms, and Defendants’ enforcement of
17
   same, violates the Second Amendment. As the Supreme Court explained in District of
18
19 Columbia v. Heller, 554 U.S. 570, 624-25 (2008), the Second Amendment protects the
20 right to of individuals to keep and bear arms that are in common use for lawful
21 purposes, such as self-defense, sport, hunting, and maintaining preparedness for service
22 in the militia.
23     In Duncan v. Becerra, 366 F. Supp.3d 1131 (S.D. Cal. 2019), this Court recognized
24
     that the Second Amendment protects the right to keep and bear common arms and
25
     firearm magazines that are useful for self-defense or use in a militia, and declared
26
     unconstitutional and enjoined California’s ban on so-called “large-capacity” magazines.
27
28
                                                     -1-
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2059 Page 10 of 38




 1 This case is a logical result of Duncan’s analysis and seeks nothing more or less for the
 2 common arms that can use those magazines.
 3 II. FACTUAL BACKGROUND
 4       A. California’s Assault Weapon Control Act
 5          California’s Roberti-Roos Assault Weapons Control Act of 1989 (AWCA),
 6
   California Penal Code section 30500, et seq.,1 established an arbitrary class of firearms
 7
   pejoratively categorized as “assault weapons,” and threatens severe criminal penalties
 8
   for the acquisition, transportation, use, and transfer of those common firearms.
 9
10          The AWCA’s ban initially covered firearms as identified by a list of specific
                    2
11 makes and models. It was later expanded to include arms with common characteristics,
12 such as so-called “large-capacity” magazines (LCMs),3 and ultimately the broad
13 category of common firearms and common characteristics at issue in this case.4
14         Under the AWCA, a rifle is an “assault weapon” if it is: (1) a semiautomatic,
15
     centerfire rifle that does not have a “fixed magazine” 5 but does have a pistol grip that
16
17
18
     1
         Further statutory citations are to the California Penal Code unless otherwise noted.
19
     2
     Section 30510 (former § 12276); Senate Bill 263 (1991-92 Reg. Sess.); 11 California
20 Code of Regulations (C.C.R.) § 5499.
21 3 Section 30515(a); § 16740 (LCM defined as “any ammunition feeding device with the
22 capacity to accept more than 10 rounds” unless specifically excepted).
     4
23    Section 30515, as amended by Senate Bill 880 and Assembly Bill 1135 (2015-16 Reg.
     Sess.).
24   5
     “Fixed magazine” means an ammunition feeding device contained in, or permanently
25 attached to, a firearm in such a manner that the device cannot be removed without
26 disassembly of the firearm action. § 30515(b); see also 11 C.C.R. §§ 5471(a-b), (f), (k),
   (m-n), and (p). Semiautomatic firearms that have “fixed magazines” with the otherwise-
27 proscribed characteristics generally are not considered “assault weapons” unless
28 identified as such by other provisions of the law, such as § 30515(a)(2).
                                                       -2-
             PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                            (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2060 Page 11 of 38




 1 protrudes conspicuously beneath the action of the rifle, a thumbhole stock, 6 a folding or
 2 telescoping stock, a grenade or flare launcher, 7 a flash suppressor,8 and/or a forward
 3 pistol grip (section 30515(a)(1)(A)-(F)); or (2) a semiautomatic, centerfire rifle that has
 4
   a fixed magazine with the capacity to accept more than 10 rounds (section 30515(a)(2));
 5
   or, (3) a semiautomatic, centerfire rifle that has an overall length of less than 30 inches
 6
   (section 30515(a)(3)). Comparable provisions, also challenged and sought to be
 7
   enjoined here, define common pistols and shotguns with various common
 8
 9 characteristics as prohibited “assault weapons.” §§ 30515(a)(4)-(8); see also 11 C.C.R.
10 §§ 5459-60; 5469-71; 5472-78 (regulations implementing expanded definitions).
11          The State’s complicated AWCA ban leads to various odd consequences and
12
13
14   6
     A “thumbhole” stock simply allows the thumb of the user’s trigger hand to be inserted
15 into a hole in the stock, providing some users with a better grip, and hence better
16 control over a firearm, than with another pistol-style grip.
   7
17   Grenades and grenade launchers are separately and heavily regulated by the federal
   government (as “destructive devices” pursuant to the National Firearms Act of 1934)
18 and the State. Flare launchers, by contrast, are “used to launch signal flares,” 11 C.C.R.
19 § 5471(q), and can have a legitimate safety and rescue purpose. See Declaration of
   Emanuel Kapelsohn (Kapelsohn Dec.) ¶ 31, filed herewith. There is little evidence of
20 any criminal use of flares.
21 8 A “flash suppressor” is defined as “any device attached to the end of the barrel, that is
22 designed, intended, or functions to perceptibly reduce or redirect muzzle flash from the
   shooter's field of vision. A hybrid device that has either advertised flash suppressing
23
   properties or functionally has flash suppressing properties would be deemed a flash
24 suppressor.” 11 C.C.R. § 5174(r). A “muzzle brake” is “[a] muzzle attachment or
25 feature that uses the propellant combustion gas with the desired effect of redirecting the
   recoil,” a “compensator” is “[a] muzzle attachment or feature to redirect propellant
26 gases with a goal of reducing muzzle lift,” and a “flash hider” (also known as a “flash
27 suppressor”) is “[a] muzzle attachment designed to reduce muzzle flash.”
   https://saami.org/saami-glossary. “Flash suppressors” and other devices, like many
28 “muzzle brakes” and “compensators” that “functionally” have secondary “flash
                                            -3-
          PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                         (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2061 Page 12 of 38




 1 divisions    among       firearms.    For     example,      an    otherwise      California-compliant
 2 semiautomatic “fixed magazine” firearm may lawfully possess one or more of the
 3 characteristics in section 30515(a)—but if a lawfully owned “large-capacity magazine”
 4
   is merely inserted into that same firearm, it would immediately convert into an illegal
 5
   “assault weapon,” subjecting the user to multiple felony violations.
 6
           Tens of millions of common semiautomatic firearms with various combinations
 7
   of common characteristics banned by California are possessed throughout the United
 8
 9 States and are widely used for lawful purposes. The characteristics California uses to
10 define “assault weapons,” individually and collectively, are neither unusual nor
11 dangerous. They instead provide material benefits to millions of law-abiding firearm
12 users, including improved ergonomics, enhanced control and accuracy while firing, and
13 safer operation. For example, a “[p]istol grip that protrudes conspicuously beneath the
14
     action of the weapon” assists in controlling common firearms such as AR-15s and is
15
     often a necessary design characteristic. Kapelsohn Dec. ¶ 28, Ex. 12. Similarly, a
16
     “folding” or “telescoping” adjustable stock, as defined in 11 C.C.R. sections 5471(nn)
17
18 & (oo), is just a stock that is readily adjustable “to properly fit the user” and does not
                                                                                            9
19 significantly affect the firearm’s concealability. Kapelsohn Dec., ¶ 30, Ex. 14.
20 Firearms with adjustable stocks can be safer and more easily controllable by law
21 abiding users—and thus safer for others—by allowing them to fit the firearm properly
22 to their size, stature, and other factors. Id. A “flash suppressor” likewise improves
23
24
25 suppressing properties,” generally affix to common semiautomatic firearms used for
   lawful purposes by the use of a “threaded barrel.” 11 C.C.R. § 5174(rr).
26
   9
     Common semiautomatic firearms with traditional folding or telescoping stocks do not
27 violate minimum length requirements, avoiding “short-barreled” categorization under
28 26 U.S.C. § 5801, et seq. and Penal Code §§ 17170, 17180.
                                                    -4-
          PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                         (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2062 Page 13 of 38




 1 safety by protecting the user’s vision by mitigating muzzle flash directed at the firearm
 2 user, though others could still see the flash from other angles. “The use of a [firearm]
 3 without a flash suppressor under [low-light] circumstances is likely to temporarily blind
 4
   the user, or at least seriously impair the user’s vision, placing the law abiding user at a
 5
   disadvantage to a criminal attacker.” Kapelsohn Dec., ¶ 32, Exs. 15, 16. Such a
 6
   characteristic would be important, for example, to a homeowner defending against a
 7
   home invasion at night, when much violent crime occurs. See Declaration of Wendy
 8
 9 Hauffen (Hauffen Dec.) ¶ 10, filed herewith.
10           Firearm control and safety are likewise improved by a “forward pistol grip”—
11 “a grip that allows for a pistol style grasp forward of the trigger” (11 CCR
12 section 5174(t)), and/or with regard to “assault weapon” pistols, a “second handgrip”—
13 “a grip that allows the shooter to grip the pistol with their non-trigger hand” (11 C.C.R.
14
     section 5174(gg)). Having one’s “non-trigger hand” help a user grip any type of firearm
15
     obviously will “assist the shooter in weapon control” before, during, and after firing it;
16
     and it is actually necessary for safe operation of many firearms, and thus improves
17
18 safety for both the user and bystanders. Kapelsohn Dec. ¶ 33. Simply, the State is
19 attempting to control where, or the angle that, a firearm owner decides to place their
20 hands on their firearm.
21           Far from being the menacing hazards California implies when it categorizes
22 firearms with such characteristics as “assault weapons,” these firearms are instead a
23
   meaningfully safer and more controllable category of firearms in common use for
24
   lawful purposes. The AWCA nonetheless makes it a crime to possess such so-called
25
   “assault weapons,” even by law-abiding private individuals for lawful purposes like
26
27 self-defense in the home. § 30605(a); Silveira v. Lockyer, 312 F.3d 1052, 1059 (9th Cir.
28 2002). It generally imposes felony criminal penalties on the manufacture, distribution,
                                                     -5-
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2063 Page 14 of 38




 1 transportation, importation, keeping, offering, or exposing for sale, or giving or lending
 2 of any “assault weapon.” § 30600(a). Further, violations of the AWCA subject firearms
 3 owners to other “civil” penalties of confiscation and destruction of their property, and
 4
   severe fines. §§ 30800(a)-(d); 18005(c).
 5
            That some might use such safer firearms toward unlawful ends does not change
 6
     the nature – or the Constitution’s protection – of such firearms any more than the
 7
     illegal use of any other arm changes the protected status of those tools. The common
 8
 9   arms with common characteristics (and related conduct) California unconstitutionally

10    bans are overwhelmingly possessed and used by law-abiding people for many lawful
11    purposes. Plaintiffs’ motion should be granted.
12       B. Plaintiffs’ Injuries
13           The individual Plaintiffs are responsible adult California residents legally
14
     eligible to possess firearms. See Declarations of James Miller (Miller Dec.), Neil
15
     Rutherford (Rutherford Dec.), Ryan Peterson (Peterson Dec.), Adrian Sevilla (Sevilla
16
     Dec.), John Phillips (Phillips Dec.), and Hauffen Dec. filed herewith. Additionally, each
17
     of the individually named Plaintiffs are members of the organizational Plaintiffs. Id.;
18
19 see also Declarations of Michael Schwartz (Schwartz Dec.), Gene Hoffman (Hoffman
20 Dec.), Alan Gottlieb (Gottlieb Dec.), and Brandon Combs (Combs Dec.) filed herewith.
21           Plaintiffs Miller and Peterson lawfully own and possess semiautomatic firearms
22 with characteristics such as pistol grips, collapsible stocks, flash hiders, and/or forward
23 pistol grips that are not currently categorized as “assault weapons” because they have
24
     “fixed” magazines. Specifically, Plaintiff Miller owns a semiautomatic rifle and
25
     Plaintiff Peterson owns a semiautomatic pistol. Miller Dec. ¶¶ 4-10, Peterson Dec.
26
     ¶¶ 4-8. Plaintiffs Miller and Peterson also lawfully own and possess “large-capacity”
27
28 magazines compatible with their firearms. Id. Plaintiffs Miller and Peterson wish to use
                                                     -6-
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2064 Page 15 of 38




 1 their magazines with their firearms while maintaining the common characteristics of
 2 their firearms such as a detachable magazine, pistol grip, collapsible stock, and/or flash
 3 suppressor, but do not because of the State’s laws and fear of criminal prosecution. Id.
 4
   Additionally, Plaintiffs Miller and Peterson would acquire additional semiautomatic
 5
   firearms with said characteristics but for the State’s laws and Defendants’ policies,
 6
   practices, and customs. Miller Dec. ¶¶8-9; Peterson Dec. ¶¶ 7-8.
 7
           Plaintiff Hauffen lawfully owns and possesses a semiautomatic, centerfire
 8
 9 “featureless” rifle that does not have any of the other listed characteristics under section
10 30515(a) except a detachable magazine. Although functionally identical to many
11 banned “assault weapons,” it is not considered an “assault weapon.” Hauffen Dec. ¶ 4.
12 Plaintiff Hauffen purchased parts to convert her firearm into this configuration so it did
13 not meet the definition of an “assault weapon” and thus allow her to possess, use, and
14
     eventually pass down her firearm to her heirs. Id. at ¶ 5. But for the AWCA and
15
     Defendants’ enforcement of it, Plaintiff Hauffen would not have made this conversion.
16
     As a female firearms instructor, Plaintiff Hauffen prefers AR-15 style firearms for self-
17
18 defense purposes and has selected this type of firearm specifically because of its
19 characteristics. Id. at ¶¶ 8-9, Ex. 1. Plaintiff Hauffen would configure and use her
20 firearm in a standard configuration with characteristics common throughout the country,
21 but for California’s laws, Defendants’ policies, practices, and customs, and her fear of
22 prosecution. Id. at ¶¶ 6-7.
23
             Plaintiff Hauffen also owns a Sig Sauer P239 9mm semiautomatic pistol and
24
     wishes to be able to replace the firearm’s standard barrel with a threaded barrel allowing
25
     her to readily attach either a flash suppressor or a muzzle brake. Hauffen Dec. ¶ 10.
26
27 Plaintiff Hauffen would attach the muzzle brake to her pistol when using the gun for
28 firearms instruction and recreational shooting. Id. She wants to readily change these
                                                     -7-
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2065 Page 16 of 38




 1 attachments and attach a flash suppressor to her pistol when carrying her pistol at night
 2 as she is a concealed weapons permit holder. Id. However, Plaintiff Hauffen is
 3 prevented from doing so because installing a threaded barrel on her semiautomatic
 4
   pistol would render it an illegal assault weapon under the AWCA. § 30515(a)(4).
 5
           Plaintiffs Hauffen, Miller, Rutherford, Sevilla, and Peterson would acquire,
 6
   possess, use, and transfer various models of pistols, rifles, and shotguns now covered by
 7
   the AWCA due to their characteristics, but for the State’s laws, Defendants’ policies,
 8
 9 practices, and customs, and their fear of prosecution. Hauffen Dec.¶ 10; Miller Dec.
10 ¶¶7-9 ; Rutherford Dec. ¶¶ 4-5; Sevilla Dec. ¶¶ 4-5, and Peterson Dec. ¶ 6.
11           Plaintiff Gunfighter Tactical is owned and operated by Plaintiff Peterson.
12 Plaintiff Gunfighter Tactical would acquire, sell, and otherwise lawfully transfer
13 common firearms covered by the AWCA to ordinary lawful adults, but is prohibited by
14
     California’s laws and Defendants’ policies, practices, and customs, and a fear of loss of
15
     his licenses and prosecution. Peterson Dec. ¶¶ 9-11.
16
             Plaintiff Poway Weapons and Gear (PWG) is owned and operated by Plaintiff
17
18 Phillips. In addition to other state, federal, and local licenses and permits allowing
19 operation as a legal firearms dealer and shooting range, Plaintiffs PWG and Phillips
20 maintain a Dangerous Weapons Permit issued by the California Department of Justice
21 and are permitted to sell “assault weapons” to exempt entities and individuals. Phillips
22 Dec. ¶¶ 3-5. Plaintiffs PWG and Phillips would sell, or rent for use at the PWG range,
23
     common firearms covered by the AWCA to individual adults who are not prohibited
24
     from possessing or acquiring firearms but are prohibited by California’s AWCA and
25
     Defendants’ policies, practices, and customs, but for a fear of losing their licenses and
26
27 prosecution. Id.
28        But for California’s laws and Defendants’ policies, practices, and customs
                                                     -8-
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2066 Page 17 of 38




 1 criminalizing the acquisition, possession, and use of common firearms covered by the
 2 AWCA due to their characteristics, Plaintiffs and other similarly situated adults in
 3 California would import, acquire, assemble/manufacture, transfer, use, transport, and
 4
   pass down those common semiautomatic firearms. Hauffen Dec. ¶ 10; Miller Dec.
 5
   ¶¶ 7-9; Rutherford Dec. ¶¶ 4-5; Peterson Dec. ¶ 6; and Sevilla Dec. ¶¶ 4-5. Thus,
 6
   California’s ban and Defendants’ policies, practices, and customs criminalizing the
 7
   acquisition, possession, and use of such firearms violates Plaintiffs’ Second
 8
 9 Amendment rights.
10          Organizational Plaintiffs San Diego County Gun Owners PAC (SDCGO),
11 California Gun Rights Foundation (CGF), Second Amendment Foundation (SAF), and
12 Firearms Policy Coalition (FPC) represent thousands of members and supporters with
13 all of the indicia of membership, who are not prohibited from purchasing or possessing
14
     firearms, but who are similarly situated to the individually named Plaintiffs. See
15
     Schwartz Dec., Hoffman Dec., Gottlieb Dec., and Combs Dec. These members include
16
     but are not limited to adult individuals who currently have (i) firearms identified as
17
18 assault weapons which cannot be transferred or passed down to their heirs or others by
19 bequest; (ii) “fixed-magazine” semiautomatic, centerfire and rimfire firearms;
20 (iii) “featureless” semiautomatic, centerfire firearms; (iv) lawfully owned and possessed
21 “large-capacity” magazines; and (v) semiautomatic shotguns with non-detachable
22 magazines (who wish to use standard, detachable magazines). Members of these
23
   organizations also include individuals who wish to acquire and use common
24
   semiautomatic firearms with common characteristics, train their children (minors under
25
   18) on the safe handling and use of such firearms, and pass down their property to their
26
27 heirs. Schwartz Dec. ¶¶ 3-8; Hoffman Dec. ¶¶ 3-8; Gottlieb Dec. ¶¶3-9; and Combs
28 Dec. ¶¶ 4-6. The organizational Plaintiffs have expended and diverted time and
                                                    -9-
          PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                         (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2067 Page 18 of 38




 1 resources that could have been used on other programs due to the State’s ban and
 2 Defendants’ policies, practices, and customs. Id. The organizational Plaintiffs seek
 3 relief on behalf of themselves, their members and supporters, and similarly situated
 4
   members of the public, because the Second Amendment rights of those individuals are
 5
   violated, and continue to be violated, by California’s AWCA ban and Defendants’
 6
   polices, practices, and customs that enforce the ban.
 7
   III. LEGAL STANDARD
 8
 9        To obtain preliminary relief, a plaintiff “’must establish that he is likely to

10 succeed on the merits, that he is likely to suffer irreparable harm in the absence of
11 preliminary relief, that the balance of equities tips in his favor, and that an injunction is
12 in the public interest.’” Am. Trucking Ass’ns, Inc. v. City of Los Angeles, 559 F.3d 1046,
13 1052 (9th Cir. 2009) (quoting Winter v. Natural Res. Defense Council, Inc., 555 U.S. 7,
14
   20 (2008)). Alternatively, injunctive relief “is appropriate when a plaintiff demonstrates
15
   that serious questions going to the merits [are] raised and the balance of hardships tips
16
   sharply in the plaintiff’s favor.” Alliance for the Wild Rockies v. Cottrell, 632 F.3d
17
   1127, 1134-35 (9th Cir. 2011).
18
19 IV. ARGUMENT
20        A.     Plaintiffs Are Likely to Succeed on the Merits.
21               The United States Constitution protects a fundamental, individual right to
22 keep and bear arms. “A well regulated Militia, being necessary to the security of a free
23 State, the right of the people to keep and bear Arms, shall not be infringed.” U.S.
24 CONST. amend. II. That right “extends, prima facie, to all instruments that
25
   constitute bearable arms, even those that were not in existence at the time of the
26
   founding,” Heller, 554 U.S. at 582, and “is fully applicable to the States,” McDonald v.
27
   City of Chicago, 561 U.S. 742, 750 (2010). The “central” holding in Heller was “that
28
                                                    - 10 -
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2068 Page 19 of 38




 1 the Second Amendment protects a personal right to keep and bear arms for lawful
 2 purposes, most notably for self-defense within the home.” McDonald, 561 U.S. at 780.
 3           While banning common semiautomatic firearms with common characteristics
 4
     and magazines may be popular in California and a few other jurisdictions, such a
 5
     prohibition “is no less unconstitutional by virtue of its popularity.” Silveira, 312 at
 6
     1091. Whatever policy arguments the State may have for these kinds of proscriptive
 7
     laws, “[t]he very enumeration of the right takes out of the hands of government—even
 8
 9 the Third Branch of Government—the power to decide on a case-by-case basis whether
10 the right is really worth insisting upon.” Heller, 554 U.S. at 634.
11           1. The AWCA’s Complete Ban on Commonly
12              Owned Firearms Violates the Second
                Amendment Under Heller’s Categorical Analysis.
13
             Precisely like the common magazines at issue in Duncan, Defendants can offer
14
     no historical support for their ban of the common firearms with common
15
     characteristics—including the same magazines—at issue here because such a ban has
16
17 “no historical pedigree.” Duncan, 366 F. Supp.3d at 1149. Such common firearms with
18 common characteristics, like semiautomatic firearms in general, have been in existence
19 for over a century and were unregulated in the State until 1989 or later—the polar
20 opposite of a “longstanding” regulation. See Declaration of Ashley Hlebinsky
21 (Hlebinsky Dec.), ¶¶ 10-28, Exs. 5–35 filed herewith. Indeed, such common
22
   semiautomatic firearms with common characteristics were for decades “typically
23
   possessed by law-abiding citizens for lawful purposes.” Heller, 554 U.S. at 624-25.
24
   They remain among the most popular firearms throughout most of the country to this
25
26 day.
27           Given such straight-forward alignment with the baseline constitutional standard
28 set forth in Heller, there is no need to analyze this case using varying “tiers of scrutiny.”
                                                    - 11 -
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2069 Page 20 of 38




 1 Rather, a clear-cut categorical rejection of the challenged prohibitions is consistent with
 2 Heller itself and is a common approach in our nation’s constitutional law. See David B.
 3 Kopel & Joseph G.S. Greenlee, The Federal Circuits’ Second Amendment Doctrines, 61
 4
   ST. LOUIS U. L.J. 193, 303–04 (2017) (examples under the First, Fifth, Sixth, Eighth,
 5
   Tenth, and Fourteenth Amendments); cf. Wrenn v. D.C., 864 F.3d 650, 666 (D.C. Cir.
 6
   2017) (“Heller I’s categorical approach is appropriate here even though our previous
 7
   cases have always applied tiers of scrutiny to gun laws.”); Heller v. District of
 8
 9 Columbia, 670 F.3d 1244, 1271 (2011) (“Heller II”) (Kavanaugh, J., dissenting) (courts
10 should “assess gun bans and regulations based on text, history, and tradition, not by a
11 balancing test such as strict or intermediate scrutiny.”
12           As this Court has recognized, Heller’s categorical analysis asks simply whether
13 the arms being regulated or banned are in common use for lawful purposes. Duncan v.
14
   Becerra, 366 F. Supp.3d at 1142. The text, history, and tradition of the Second
15
   Amendment all point in the same direction: the firearms and conduct banned through
16
   operation and application of section 30515(a) have long been and continue to be
17
18 commonly owned by law-abiding citizens for lawful purposes and are not uniquely
19 dangerous and unusual in any manner that provides a historical basis for their
20 prohibition. “A weapon may not be banned unless it is both dangerous and unusual,;” it
21 “is a conjunctive test.” Caetano v. Massachusetts, 136 S. Ct. 1027, 1031 (2016) (Alito,
22 J., concurring). Because the arms California bans in the AWCA are not unusual, the
23
     Court need not consider if they are “dangerous” in a manner different from the inherent
24
     “danger” of firearms in general—such “danger” to those who pose a threat, of course,
25
     being the very reason arms are protected and useful in the first place. As Justice Alito
26
27 explained, “the relative dangerousness of a weapon is irrelevant when the weapon
28 belongs to a class of arms commonly used for lawful purposes.” Id.
                                                    - 12 -
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2070 Page 21 of 38




 1          Accordingly, just like the District of Columbia’s ban on handguns in Heller, the
 2 City of Chicago’s ban on handguns in McDonald, and California’s ban on
 3 “large-capacity” magazines in Duncan, California’s sweeping ban on this ever-
 4
   expanding category of firearms is categorically unconstitutional—full stop.
 5
           2. The AWCA Bans Arms in “Common Use.”
 6
              As for the primary predicate of such categorical analysis, there is no genuine
 7
   question that the semiautomatic firearms banned by California are common, not
 8
 9 prohibited in the vast majority of States, and have been used for close to a century by
10 millions of responsible, law-abiding people for various lawful purposes such as
11 self-defense, hunting, recreation, competition, and collecting. Declaration of James
12 Curcuruto (Curcuruto Dec.) ¶¶ 7-14, Exs. 1-7, filed herewith. The only rarity regarding
13 such firearms is the very few States that seek to restrict them by recharacterizing them
14
   as “assault weapons.” Kapelsohn Dec. ¶¶ 17-26, Exs. 1-10.
15
               Firearms capable of holding and firing more than 10 rounds without
16
   reloading arrived well before 1900, and the first semiautomatic rifle was produced by
17
   Mannlicher in 1885. Hlebinsky Dec. ¶¶ 11-15, Exs. 5-21. Early semiautomatic pistols,
18
19 rifles, and shotguns were developed in the first years of the 1900s and were configured
20 with many of California’s banned characteristics, such as detachable and large capacity
21 magazines, pistol grips, and adjustable stocks. Id.
22              Today, semiautomatic firearms with such common characteristics are among
23 the most popular firearms in the United States. Curcuruto Dec., ¶¶8-12 (discussing
24
   prevalence of relevant semiautomatic rifles and massive numbers of common
25
   semiautomatic shotguns and pistols with such characteristics). “We think it clear
26
   enough in the record that semi-automatic rifles and magazines holding more than ten
27
28 rounds are indeed in ‘common use,’ as the plaintiffs contend.” Heller II, 670 F.3d
                                                   - 13 -
          PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                         (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2071 Page 22 of 38




 1 at 1261.
 2               Although categorical commonality is not exclusively based on number of
 3 any particular type of arm owned by individuals, the numbers are telling. Ownership of
 4
   semiautomatic rifles configured in a manner banned by California has previously been
 5
   conservatively estimated at least 5 million strong. Curcuruto Dec., ¶¶ 7-13, Exs. 1-7.
 6
   Indeed, in 2016 alone, 2.2 million such rifles were either manufactured in or imported
 7
   into the U.S. for sale. Id. at ¶ 8, Ex. 3. As of 2019, 96.5% of firearm retailers sell
 8
 9 firearms that would be prohibited by the AWCA. Id. at ¶ 10, Ex. 5. However, most
10 recently, reports show there are 17.7 million privately owned “modern sporting rifles”
11 in the country alone—54% of the firearms manufactured and imported in the U.S.
12 Curcuruto Dec. ¶15, Ex. 8.
13            One of the most common firearms meeting California’s definition of
14
   “assault weapon” is the AR-15 platform firearm, which has been sold to the public since
15
   1950 with standard characteristics like detachable magazines that hold more than 10
16
   rounds, pistol grips, collapsible or otherwise adjustable stocks, flash suppressors, and/or
17
18 forward vertical grips. Kapelsohn Dec. ¶ 18; Curcuruto Dec. ¶ 8. Such firearms are
19 lawful under federal law and in most States. As this Court previously recognized:
20            Over the last three decades, one of the most popular civilian rifles in
              America is the much maligned AR-15 style rifle. Manufactured with
21
              various characteristics by numerous companies, it is estimated that
22            more than five million have been bought since the 1980s. These rifles
23            are typically sold with 30-round magazines. These commonly owned
              guns with commonly-sized magazines are protected by the Second
24            Amendment and Heller’s simple test for responsible, law-abiding
25            citizens to use for target practice, hunting, and defense.
26 Duncan, 366 F. Supp.3d at 1145 (emphasis added).
27
28
                                                   - 14 -
          PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                         (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2072 Page 23 of 38




 1          3. Firearms Covered by California’s Ban Are Well-Suited for Self-
               Defense.
 2
            The common firearms banned under the AWCA are not only in common use,
 3
 4 but ideal for self-defense. Kapelsohn Dec. at ¶¶18-26, Exs. 1-10. They are highly
 5 beneficial to lawful gun owners; especially, but not exclusively, in life or death self-
 6 defense situations. Hauffen Dec. ¶ 8, Ex. 1. As described previously, the regulated
 7 characteristics improve the control, accuracy, function, and safety of firearms.
 8 Kapelsohn Dec. ¶¶ 27-37. These characteristics also make them ideal for lawful
 9
   purposes such as sport and hunting. Common sense dictates that standard characteristics
10
   that enhance accuracy, control, and safety should be encouraged, not banned. But rather
11
   than promoting safer firearm handling, the State’s regulatory scheme actually prevents
12
   firearm users from maximizing their safe and controlled use of common semiautomatic
13
14 firearms.
15          4. Firearms Covered by California’s Ban
               Are Well-Suited for Militia Service.
16
17          In addition to meeting Heller’s common-use predicate, the firearms banned by
18 the AWCA are especially fit for militia service should the need arise, as contemplated
19 by the Second Amendment’s prefatory clause and history. The common AR-15
20 platform firearm, for example, has standardized and interchangeable parts, magazines,
21
   and ammunition; is durable, reliable, relatively inexpensive, and lightweight; and
22
   readily fulfils the same purposes sought (and mandated) by the founding-era Militia
23
   Acts. See Declaration of Allen Youngman (Youngman Dec.), ¶ 14-19, filed herewith.
24
           Such utility for militia service helps to understand the breadth of arms protected
25
26 under the Second Amendment. In the pre-Heller decision in United States v. Miller, 307
27 U.S. 174, 178 (1939), the Supreme Court looked to “ordinary military equipment” that
28 could “contribute to the common defense” in identifying weapons covered by the
                                                   - 15 -
          PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                         (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2073 Page 24 of 38




 1 Second Amendment. It further explained that the debates, history, legislation, and
 2 commentary preceding and surrounding the Bill of Rights “plainly” showed that:
 3           the Militia comprised all males physically capable of acting in concert
 4           for the common defense. “A body of citizens enrolled for military
             discipline.” And further, that ordinarily when called for service these
 5           men were expected to appear bearing arms supplied by themselves
 6           and of the kind in common use at the time.
 7 307 U.S. at 179.
 8           When the Court in Heller later resolved the individual nature of Second
 9 Amendment rights, it clarified that Miller was establishing “that the sort of weapons
10 protected were those ‘in common use at the time.’” 554 U.S. at 627 (quoting Miller,
11
   307 U.S. at 179). This Court itself has agreed that “Miller implie[d] that possession by a
12
   law-abiding citizen of a weapon that could be part of the ordinary military equipment
13
   for a militia member, or that would contribute to the common defense, is protected by
14
   the Second Amendment.”. Duncan, 265 F. Supp.3d at 1116.
15
16         Firearms in common use and suitable for militia service were expected—
                                                                              10
17 indeed, often required—to be kept by ordinary citizens.                         Today, such arms are
18 semiautomatic firearms, such as the AR-15 rifle, with the common characteristics
19 discussed above. Youngman Dec. ¶ 19.
20         5. California’s “Assault Weapons” Ban Does Not Fall Within Any
21               Historically Permissible Limit on the Right to Keep and Use Arms.
22           In contrast to the strong historical support for protecting the firearms at issue
23 here, there is no historical support at all for prohibiting such firearms. As noted earlier,
24 at page 13-14 semiautomatic rifles, pistols, and shotguns and detachable magazines
25 have been in existence since the late 1800s and early 1900s. As early as 1779, firearms
26
27   10
     David B. Kopel and Joseph G. S. Greenlee, The Second Amendment Rights of Young
28 Adults, 43 S. ILL. U. L.J. 495 (2019).
                                                    - 16 -
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2074 Page 25 of 38




 1 had capacities of up to 30 rounds. Hlebinsky Dec. ¶¶11-13, Exs. 5-18. During World
 2 War I, detachable magazines with capacities of 25-to-32 rounds were introduced and
 3 available in the commercial market. Kapelsohn Dec., ¶ 18. Other characteristics such as
 4
   the ergonomic pistol-style grip and thumbhole stock, collapsible stock, flash suppressor,
 5
   and forward vertical grips have been commercially available and offered on
 6
   semiautomatic firearms for decades. Hlebinsky Dec. ¶¶ 10-28, Exs. 5-35.
 7
            Despite the long history of such firearms, and even longer prior history of
 8
 9 militia-suitable firearms being available to the population in general, it was not until
10 1989 that California became the first State to implement any “assault weapon” ban with
11 the first and narrower iteration of the AWCA based on specific makes and models. The
12 only federal regulation on semiautomatic firearms having characteristics at issue here
13 did not occur until 1994 in the Public Safety and Recreational Firearms Use Protection
14
   Act (the “Federal Assault Weapons Ban”)(103rd Congress (1993-1994)), a subsection of
15
   the Violent Crime Control and Law Enforcement Act of 1994 (Pub. L. 103-322), which
16
   was allowed to sunset 10 years later due to its lack of effect on crime. See Declaration
17
18 of John Lott (Lott Dec.) ¶¶ 8, filed herewith. The few subsequent state “assault weapon”
19 bans have an even shorter “historical” pedigree. See Declaration of George A. Mocsary
20 (Mocsary Dec.) ¶¶ 23-49, Exs. 2-9. Such late-adopted restrictions by a mere handful of
21 jurisdictions do not remotely qualify as the historically permissible limits mentioned in
22 Heller. Cf. Heller II, 670 F.3d at 1260 (“We are not aware of evidence that prohibitions
23
     on either semi-automatic rifles or large-capacity magazines are longstanding and
24
     thereby deserving of a presumption of validity”); Staples v. United States, 511 U.S. 600,
25
     603 n.1, 612 (1994) (discussing the AR-15 and stating that weapons that fire “only one
26
27 shot with each pull of the trigger” “traditionally have been widely accepted as lawful
28 possessions”). Mocsary Dec. ¶¶10-22.
                                                    - 17 -
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2075 Page 26 of 38




 1               Under each aspect of Heller’s straightforward analysis, California’s AWCA
 2 violates the Second Amendment. It criminalizes the lawful use and possession of
 3 common firearms with common characteristics, suitable for militia service and used for
 4
   lawful purposes such as self-defense, proficiency training, hunting, recreation, and
 5
   competition. Such prohibition has no longstanding historical predicate and broadly
 6
   restricts the protected activities of virtually all law-abiding adults in California for
 7
   effectively all purposes. And like the ban struck down in Heller, it threatens citizens
 8
 9 with substantial criminal penalties. Heller, 554 U.S. at 634. Because the challenged law
10 fails Heller’s categorical analysis, this Court need go no further to find that Plaintiffs
11 have a high likelihood of success on the merits.
12           6. The AWCA Fails the Ninth Circuit’s Two-Part Test.
13               The State’s AWCA scheme also fails the Ninth Circuit’s two-part test
14
     applying tiered scrutiny.11 Assuming arguendo that an interest-balancing test is
15
     required, the challenged provisions still fail any level of “heightened scrutiny.”
16
             The Ninth Circuit applies a two-part test to some Second Amendment
17
     challenges. United States v. Chovan, 735 F.3d 1127 (9th Cir. 2013). This “inquiry
18
19 ‘(1) asks whether the challenged law burdens conduct protected by the Second
20 Amendment and (2) if so, directs courts to apply an appropriate level of scrutiny.’”
21
22
     11
       Plaintiffs preserve and maintain their position that such a test, and tiered scrutiny, are
23
     inappropriate for categorical bans, including the AWCA’s at issue here. Heller, 554
24   U.S. at 634, 635 (“We know of no other enumerated constitutional right whose core
25   protection has been subjected to a freestanding ‘interest-balancing’ approach”; “[t]he
     Second Amendment . . . is the very product of an interest balancing by the people”);
26   Ezell v. City of Chicago, 651 F.3d 684, 703 (7th Cir. 2011) (“Both Heller and
27   McDonald suggest that broadly prohibitory laws restricting the core Second
     Amendment right—like the handgun bans at issue in those cases, which prohibited
28   handgun possession even in the home—are categorically unconstitutional.”).
                                              - 18 -
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2076 Page 27 of 38




 1 Bauer v. Becerra, 858 F.3d 1216, 1221 (9th Cir. 2017) (quoting Jackson v. City of San
 2 Francisco, 746 F.3d 953, 960 (9th Cir. 2014)). The level of scrutiny to be applied
 3 depends on the closeness to the core and “the severity of the law’s burden,” on the
 4
   Second Amendment. Chovan, 735 F.3d at 1138.
 5
                  a.    Burden on the Second Amendment
 6
           As shown above, at page 12-14, semiautomatic firearms with common
 7
   characteristics proscribed by the AWCA are in common use for lawful purposes and
 8
 9 thus protected arms under the Second Amendment. The State’s ban thus “amounts to a
10 prohibition of an entire class of ‘arms’ that is overwhelmingly chosen by American
11 society for lawful purposes, including for possession in the home, where the need for
12 defense of self, family, and property is most acute.” Heller, 554 U.S. at 628.12 The
13 AWCA and Defendants’ policies, practices, and customs impose a substantial burden
14
   on Second Amendment rights, and thus deserves strict scrutiny “to afford the Second
15
   Amendment the respect due an enumerated constitutional right.” Silvester v. Becerra,
16
   138 S. Ct. 945, 945 (2018) (Thomas, J., dissenting from denial of certiorari); Pena v.
17
   Lindley, 898 F.3d 969, 977 (9th Cir. 2018) (“We strictly scrutinize a ‘law that
18
19 implicates the core of the Second Amendment right and severely burdens that right’”)
20 (citation omitted); Mance v. Sessions, 896 F.3d 699, 705-06 (5th Cir. 2018), pet’n for
21
22
23   12
      Any suggestion by Defendants that the AWCA bans only a small subset of firearms
24 or that there are other classes of firearms available and thus the AWCA is not a
25 categorical ban is foreclosed by Heller. “It is no answer to say […] that it is permissible
   to ban the possession of handguns so long as the possession of other firearms (i.e., long
26 guns) is allowed.” Heller 554 U.S. at 629; see also Parker v. District of Columbia, 478
27 F.3d 370, 400 (D.C. Cir. 2007) (“The District contends that since it only bans one type
   of firearm, ‘residents still have access to hundreds more,’ and thus its prohibition does
28 not implicate the Second Amendment because it does not threaten total disarmament.
                                              - 19 -
          PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                         (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2077 Page 28 of 38




 1 cert. filed (Nov. 19, 2018) (applying strict scrutiny in Second Amendment cases).
 2           Even if the AWCA’s broad ban somehow were deemed less severe, and only
 3 intermediate scrutiny applied, the prohibitions challenged here would still fail
 4 “constitutional muster.” Heller, 554 U.S. at 628–29. Plaintiffs thus will discuss only
 5
   intermediate scrutiny on the understanding that such discussion applies all the more
 6
   acutely and fatally under strict scrutiny. They preserve their claims to Heller’s
 7
   categorical analysis and, alternatively, for strict scrutiny should the need arise here or
 8
   on appeal.
 9
                 b.     Heightened Scrutiny Imposes a High Bar for the State
10
                        when Defending Infringements of Second Amendment
11                      Rights
12           Under any form of heightened scrutiny, the government bears the burden of
13 justifying its restrictions. See, e.g., R.A.V. v. City of St. Paul, 505 U.S. 377, 382 (1992)
14 (content-based speech regulations are presumptively invalid); United States v. Chester,
15
   628 F.3d 673, 680 (4th Cir. 2010) (unless conduct “not protected by the Second
16
   Amendment at all, the [g]overnment bears the burden of justifying the constitutional
17
   validity of the law.”); Tyler v. Hillsdale County Sheriff’s Dept., 837 F. 3d 678, 694
18
   (6th Cir. 2016) (“the burden of justification is demanding and it rests entirely on the
19
20 State.”) (citation omitted).
21           The intermediate scrutiny to be applied is the same as, and is drawn from, such
22 scrutiny in the First Amendment context. Jackson, 746 F.3d at 961 (heightened scrutiny
23 in Second Amendment cases is “guided by First Amendment principles”); Silvester v.
24 Harris, 834 F.3d 816, 821 (9th Cir. 2016) (applying in Second Amendment case “the
25
   test for intermediate scrutiny from First Amendment cases”), cert. denied, Silvester v.
26
27
28 We think that argument frivolous. It could be similarly contended that all firearms may
                                           - 20 -
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2078 Page 29 of 38




 1 Becerra, 138 S. Ct. 945 (2018). Various cases in the Ninth Circuit have described that
 2 test as whether “(1) the government’s stated objective [is] significant, substantial, or
 3 important; and (2) there [is] a ‘reasonable fit’ between the challenged regulation and the
 4
   asserted objective.” Silvester, 843 F.3d at 821–22 (quoting Chovan, 735 F.3d at 1139).
 5
   The Supreme Court has emphasized that “reasonable” tailoring demands a considerably
 6
   closer fit than mere rational basis scrutiny, and requires evidence that the restriction
 7
   directly and materially advances a bona fide state interest. The test under intermediate
 8
 9 scrutiny is “whether the challenged regulation advances these interests in a direct and
10 material way, and whether the extent of the restriction on protected speech is in
11 reasonable proportion to the interests served.” Edenfield v. Fane, 507 U.S. 761, 767
12 (1993). “‘[T]he regulation may not be sustained if it provides only ineffective or remote
13 support for the government’s purpose.’” Id. at 770 (quoting Central Hudson Gas &
14
     Electric Corp. v. Public Serv. Comm’n, 447 U.S. 557, 564 (1980)).
15
             Further, the government’s burden of justifying its restriction on constitutional
16
     rights “is not satisfied by mere speculation or conjecture; rather, a governmental body
17
18 seeking to sustain a restriction on commercial speech must demonstrate that the harms it
19 recites are real and that its restriction will in fact alleviate them to a material degree.”
20 Edenfield, 507 U.S. at 770-71 (emphasis added). Restrictions on constitutional rights
21 must be analyzed in their specific context, and “will depend upon the identity of the
22 parties and the precise circumstances of the” protected activity. Edenfield, 507 U.S. at
23
     774. Generalized risk does not warrant restrictions as to all persons, and “a preventative
24
     rule” aimed at such generic hazards is “justified only in situations ‘inherently conducive
25
     to’” the specific dangers identified. Id. (quoting Ohralik v. Ohio State Bar Ass’n, 436
26
27
28 be banned so long as sabers were permitted.”), aff’d sub nom. Heller, 554 U.S. 570.
                                                    - 21 -
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2079 Page 30 of 38




 1 U.S. 447, 449 (1978)). Finally, even where the challenged restrictions materially
 2 address a genuine harm, the State must prove that its chosen means are “’closely
 3 drawn’” to achieve that end without “’unnecessary abridgment’” of constitutionally
 4
   protected conduct. McCutcheon v. FEC, 134 S. Ct. 1434, 1456-57 (2014) (quoting
 5
   Buckley v. Valeo, 424 U.S. 1, 25 (1976)).
 6
            Assuming arguendo the importance of the State’s highly generalized claimed
 7
   interests in public safety and reducing “gun violence,” those interests must “rely on . . .
 8
 9 hard facts and reasonable inferences drawn from convincing analysis amounting to
10 substantial evidence based on relevant and accurate data sets.” Duncan, 366 F. Supp.3d
11 at 1161. Further, if the State’s claimed interest is instead a more specific desire to
12 prevent or mitigate so-called “mass shootings,” Rupp v. Becerra, 401 F. Supp. 3d 978,
13 991 (C.D. Cal. 2019), then it is far from clear that an interest directed at such rare
14
   events is significant and/or important. Nevertheless, even assuming the importance of
15
   the interest at either level of generality, the AWCA’s sweeping ban on common
16
   firearms with common characteristics is not a reasonable fit for achieving these
17
18 interests.
19                   c. There is No Reasonable Fit Between the Government’s
                        Interests and the AWCA
20
                         The AWCA’s broad ban on common semiautomatic firearms is not a
21
     reasonable fit for a plethora of reasons. First, the ban does not “alleviate [the claimed
22
23 harms] to a material degree.” Edenfield, 507 U.S. at 770-71. All credible research on the
24 effectiveness of “assault weapon” bans in reducing gun violence and/or mass shootings
25 shows no demonstrable correlation between the two. Lott Dec. ¶¶ 6-65, Exs. 2-19. The
26 experiment of these bans has been tried, and they have failed to demonstrate that they
27 directly or materially advance any government interest relating to gun violence. At the
28
                                                    - 22 -
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2080 Page 31 of 38




 1 federal level, the 1994 Federal Assault Weapons Ban was allowed to expire due to its
 2 lack of effect. Id. California has had an ever-expanding ban on “assault weapons” since
 3 1989, with no indication it has done anything to alleviate the problems cited by the
 4
   State. Lott Dec. ¶ 6-17, Exs. 2-5. As this Court previously observed:
 5
           No case has held that intermediate scrutiny would permit a state to
 6         impinge even slightly on the Second Amendment right by employing
 7         a known failed experiment. Congress tried for a decade the
           nationwide experiment of prohibiting large capacity magazines. It
 8         failed. California has continued the failed experiment for another
 9         decade and now suggests that it may continue to do so ad infinitum
           without demonstrating success. That makes no sense.
10
   Duncan, 366 F. Supp.3d at 1169.
11
           Second, any correlation between different crimes and the weapons used therein
12
13 does not establish a reasonable fit for a ban on all such weapons. Thus, notwithstanding
14 the District Court’s findings in Rupp, that “such weapons are disproportionately used in
15 mass shootings,” Rupp v. Becerra, 401 F. Supp. 3d 978, 993 (C.D. Cal. 2019), such
16 findings do not even suggest that a ban would do anything other than divert such
17 criminals to alternative legal or illegal weapons, or would in any way mitigate the
18
   problems. Further, any alleged higher incidence of “assault weapons” being used in
19
   crimes, mass shootings, and/or police shootings cannot justify a sweeping ban on lawful
20
   ownership of protected arms. Lawful use of such arms overwhelmingly outweighs any
21
   criminal use. Government “may not regulate the secondary effects of speech by
22
23 suppressing the speech itself.” City of Los Angeles v. Alameda Books, Inc., 535 U.S.
24 425, 445 (2002) (opinion of Kennedy, J.). Indeed, in Heller itself, it was accurately
25 observed that handguns are involved in the majority of all firearm-related deaths and the
26 government argued that such fact established the government’s interest in banning
27 handguns to prevent or mitigate firearm-related homicides. Heller, 554 U.S. at 695-696
28
                                                   - 23 -
          PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                         (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2081 Page 32 of 38




 1 (Breyer, J., dissenting). The Court rejected that argument, finding that a ban on
 2 possessing commonly owned firearms lacked any fit to further the government’s
 3 interest under any level of scrutiny. Heller, 554 U.S. at 628-29.
 4
            Constitutionally protected activities cannot be banned because the activity could
 5
   lead to criminal abuses. See Se. Promotions Ltd. v. Conrad, 420 U.S. 546, 559 (1975);
 6
   accord Vincenty v. Bloomberg, 476 F.3d 74, 84-85 (2d Cir. 2007); Robb v.
 7
   Hungerbeeler, 370 735, 743 (8th Cir. 2004); Ashcroft v. Free Speech Coal., 535 U.S.
 8
 9 234, 245 (2002); Stanley v. Georgia, 394 U.S. 557, 567 (1969). Indeed, computing
10 devices connected to the Internet are now the most common tool for engaging in lawful,
11 protected First Amendment activities, but undoubtedly also the most common tool for
12 engaging in many unprotected and sometimes illegal forms of speech (e.g., defamation,
13 true threats) and other illegal conduct (e.g., child pornography, hacking, and identity
14
     theft) as well. The latter hardly can justify restricting lawful use of computers connected
15
     to the Internet by law-abiding people who wish to publish their protected content and
16
     viewpoints.
17
18           Third, the line drawn by California between permitted and proscribed weapons

19 is arbitrary and based on speculation and conjecture. The characteristics that trigger
20 prohibition in fact improve the safe and controlled use of firearms so equipped.
21 Kapelsohn Dec. ¶ 27-37, Exs. 11-18. Thus, they improve public safety relating to the
22 lawful use of such firearms. As for unlawful use, there is no indication that criminals
23
   are particularly concerned about avoiding collateral or unintended damage through
24
   greater accuracy or control and, in any event, there is no evidence criminals would be
25
26
27
28
                                                    - 24 -
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2082 Page 33 of 38




 1 any less destructive using California-compliant “featureless” firearms. Id.13 The
 2 prohibited characteristics in the AWCA do not change the fundamental semiautomatic
 3 function of the firearms, nor do they affect the ballistics of their projectiles. The District
 4
   court in Rupp accepted the State’s claims that the various targeted characteristics
 5
   enhance the accuracy, capacity, and hence danger of the prohibited firearms—“[a]s
 6
   discussed throughout, that the rifles are more accurate and easier to control is precisely
 7
   why California has chosen to ban them”—and thus, upheld the AWCA. Rupp 401
 8
 9 F. Supp.3d at 993 (C.D. Cal. 2019). The District Court’s analysis was deeply flawed.
10 Such a standard would justify a ban on nearly all modern firearms, as they are all more
11 accurate and controllable than early firearms (e.g., muskets). It would also curb most
12 future innovation in firearms, as any improvements would justify a ban.
13          While the pistol grip assists in the safe control of a firearm, it does not
14
   significantly increase the speed or ability of reloading compared to “featureless” non-
15
   “assault weapons.” See Video (comparing a common AR-15 platform semiautomatic
16
   firearm in a California-compliant “featureless” configuration with a standard
17
   configuration commonly available in the majority of other states), online at
18
   http://bit.ly/miller-kraut-video; see also Declaration of Adam Kraut (Kraut Dec.) ¶¶ 4-
19
   14; Kapelsohn Dec. ¶ 28, Ex. 12. Further, semiautomatic firearms with the regulated
20
   characteristics are not more deadly in the hands of a criminal than a firearm without
21
   those characteristics. Id., Exs. 17, 18. Indeed, many notable crimes have been
22
   committed by criminals with semiautomatic firearms that did not have the regulated
23
24
25
     13
26    Or that criminals would be deterred from illegally obtaining or creating prohibited
   firearms. It is absurd to suggest that a person intent on the grotesque crime of mass
27 murder would pause for a second at the prospect of also violating the AWCA while
28 he was at it. In for a pound, in for a penny. Lott Dec. ¶¶ 6-27, Exs. 2-5.
                                                    - 25 -
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2083 Page 34 of 38




 1 characteristics. Kapelsohn Dec., ¶ 34. In fact, some of the worst mass shootings used
 2 only handguns or bolt action rifles.
 3           Fourth, the AWCA burdens far more protected activity than necessary by
 4 imposing a complete ban on an ordinary, law-abiding individual’s acquisition, purchase,
 5 transfer, and use of a common class of arms. Even under intermediate scrutiny, “a
 6
     reasonable fit requires tailoring, and a broad prophylactic ban on acquisition or
 7
     possession of all” common semiautomatics with common characteristics “for all
 8
     ordinary, law-biding, responsible citizens is not tailored at all.” Duncan, 366 F. Supp.3d
 9
10 at 1180; see also Turner Broadcasting System, Inc. v. FCC, 512 U.S. 622, 682-83
11 (1994) (O'Connor, J., concurring in part and dissenting in part) (“A regulation is not
12 ‘narrowly      tailored’—even        under     the    more     lenient     [standard     applicable        to
13 content-neutral restrictions]—where ... a substantial portion of the burden on speech
14 does not serve to advance [the State's content-neutral] goals.... Broad prophylactic rules
15
     in the area of free expression are suspect. Precision of regulation must be the
16
     touchstone....”) (brackets in original) (citations and quotations omitted). By prohibiting
17
     even fully background-checked and law-abiding citizens from possessing a common
18
19 and effective class of firearms, the law imposes considerably more burden than is
20 warranted by the rare instances of criminal violence using such firearms. “The right to
21 self-defense is largely meaningless if it does not include the right to choose the most
22 effective means of defending oneself.” Friedman v. City of Highland Park, 784 F.3d
23 406, 418 (7th Cir. 2015) (Manion, J., dissenting).
24
           California’s regulatory scheme for common semiautomatic firearms and
25
   common characteristics undermines public safety and does not materially advance any
26
   legitimate public interest. The State’s justification that the self-same characteristics that
27
   make the firearms here suitable for lawful self-defense may also make them effective
28
                                                    - 26 -
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2084 Page 35 of 38




 1 tools for crime if misused, thus necessitating a ban, misses the point and would gut the
 2 Second Amendment. After all, the very point of protecting arms, and firearms in
 3 particular, is that they allow law-abiding people to project force against unjust force at a
 4
   distance, and thereby defend themselves and others against a violent threat as soon as
 5
   possible with the least amount of damage to those being protected. Inevitably, all
 6
   firearms that are at all suitable for self-defense or militia service are comparably
 7
   dangerous in the hands of a violent criminal. The notion that improvements that make
 8
 9 firearms better and safer for lawful use likewise make them comparably better for
10 unlawful use simply leads to the absurdity that firearms may never be improved because
11 the harms ipso facto outweigh the benefits and justify a ban. However, the Second
12 Amendment itself has already balanced the need for and dangers from arms that can
13 effectively project force against another. As “the very product of an interest balancing
14
   by the people,” the Second Amendment “elevates above all other interests the right of
15
   law-abiding, responsible citizens to use arms in defense of hearth and home.” Heller,
16
   554 U.S. at 634-35. “Constitutional rights are enshrined with the scope they were
17
18 understood to have when the people adopted them, whether or not future legislatures . . .
19 think that scope too broad.” Id.
20           The AWCA’s ban on an entire class of common semiautomatic firearms having
21 common characteristics imposed against law-abiding individuals has no constitutional
22 fit, let alone a reasonable one. The challenged law fails the categorical analysis; it fails
23
     even intermediate scrutiny.
24
         B. All Other Preliminary Injunction Factors Favor Enjoining The AWCA
25
             For the reasons above, Plaintiffs are likely to succeed on the merits. And
26
     Plaintiffs also satisfy the other preliminary injunction factors.
27
28
                                                    - 27 -
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2085 Page 36 of 38




 1           1. Likelihood of irreparable harm absent preliminary relief
 2           “It is well established that the deprivation of constitutional rights
 3 ‘unquestionably constitutes irreparable injury.” Melendres v. Arpaio, 695 F.3d 990,
 4 1002 (9th Cir. 2012) (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)); 11A Charles
 5 Alan Wright et al., Federal Practice and Procedure § 2948.1 (2d ed. 1995) (“When an
 6
     alleged deprivation of a constitutional right is involved, most courts hold that no further
 7
     showing of irreparable injury is necessary.”). Plaintiffs have been and continue to be
 8
     deprived of their fundamental Second Amendment rights. See Miller Dec., Hauffen
 9
10 Dec., Rutherford Dec., Sevilla Dec., Phillips Dec., Peterson Dec., Gottlieb Dec.,
11 Hoffman Dec., and Combs Dec.
12           Further, the Ninth Circuit has applied the First Amendment’s “irreparable-if-
13 only-for-a-minute” rule to cases involving other rights and, in doing so, has held a
14 deprivation of these rights represents irreparable harm per se. Monterey Mech. Co. v.
15
   Wilson, 125 F.3d 702, 715 (9th Cir. 1997). See also Ezell v. Chicago, 651 F.3d 684, 700
16
   (7th Cir. 2011) (a deprivation of the right to arms is “irreparable,” with “no adequate
17
   remedy at law”). Moreover, the AWCA’s restrictions on otherwise lawful and
18
19 innocuous conduct are enforced by severe criminal and “civil” penalties, which can
20 result in incarceration and a lifetime prohibition on an individual’s Second Amendment
21 rights. Thus, the AWCA and Defendants’ policies, practices, and customs have and will
22 continue to cause irreparable harm absent injunctive relief.
23           2. The Balance of Equities Tips in Plaintiffs’ Favor
24           The next factor considers the balance of equities, or “the balance of hardships
25 between the parties.” Alliance for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1137 (9th
26
   Cir. 2011). The state “cannot suffer harm from an injunction that merely ends an
27
   unlawful practice or reads a statute as required to avoid constitutional concerns.”
28
                                                    - 28 -
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2086 Page 37 of 38




 1 Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013); see also Valle del Sollnc. v.
 2 Whiting, 732 F.3d 1006, 1029 (9th Cir. 2013) (“[I]t is clear that it would not be
 3 equitable ... to allow the state ... to violate the requirements of federal law.”) (citations
 4
   omitted). The likelihood of success on the merits thus largely drives the equitable
 5
   balance as well. Additionally, because no credible evidence supports the effectiveness
 6
   of California’s “assault weapon” ban, supra at p. 21-22, there is no genuine harm from
 7
   enjoining such a scheme. Conversely, Plaintiffs and other similarly situated law-abiding
 8
 9 individuals would indeed benefit from the safety and control characteristics of the
10 otherwise restricted firearms and thus are injured by the restrictions beyond the direct
11 injury to their Second Amendment rights. The balance of equities tips sharply in
12 Plaintiffs’ favor.
13          3. An Injunction Is in The Public Interest
14
             When challenging government action that affects the exercise of constitutional
15
     rights, “[t]he public interest … tip[s] sharply in favor of enjoining the” law. Klein v.
16
     City of San Clemente, 584 F.3d 1196, 1208 (9th Cir. 2009) (emphasis added). Again,
17
     the likelihood of success on the merits and the lack of effectiveness in advancing the
18
19 State’s claimed interests largely drive a comparable conclusion regarding the public
20 interest. Furthermore, mass shootings are extremely rare. Since 1982, there were still 19
21 public mass shootings in California. These incidents involved: multiple firearms,
22 banned firearms, illegally modified firearms, firearms with and without common
23 characteristics, and firearms with and without “large-capacity” magazines—all while
24
     the AWCA was in effect. Any suggestion that the AWCA has any salutary effect on the
25
     harms of mass shootings thus is speculative at best, and demonstrably false at worst.
26
     Additionally, it is not only Plaintiffs’ rights at stake, but the rights of all law-abiding
27
28
                                                    - 29 -
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
Case 3:19-cv-01537-BEN-JLB Document 24-2 Filed 12/13/19 PageID.2087 Page 38 of 38




 1 adults in California—and future adults—as well. Thus, the public interest tips even
 2 more sharply in Plaintiffs’ favor. Id. at 1208.
 3           Further, even with the AWCA and Defendants’ policies, practices, customs, and
 4
     regulations properly enjoined, all firearm purchases still must go through federal and
 5
     state background checks. Purchasers and transferees also must still: (a) take and pass a
 6
     firearms safety test; (b) present a valid firearm safety certificate for any transfer; (c)
 7
     provide proofs of identity and residency; (d) complete a ten-day waiting period;
 8
 9 (e) complete a safe handling demonstration of the firearm being purchased; (f) sign a
10 gun safe affidavit, or purchase a firearm cable lock; and (g) complete a background
11 check for ammunition purchases. This list is not exhaustive, but provides a summary of
12 the vast array of firearms regulations already in place that, according to the State, ensure
13 public safety.
14
     V. CONCLUSION
15
             For the foregoing reasons, Plaintiffs request that the Court grant their motion
16
     and preliminarily enjoin the AWCA and Defendants’ policies, practices, customs, and
17
     regulations that enforce it.
18
19
     Respectfully submitted,
20
     December 6, 2019                               GATZKE DILLON & BALLANCE LLP
21
                                                    Attorney for Plaintiffs
22
                                                    /s/ John W. Dillon__________________
23                                                  John W. Dillon
24
25
26
27
28
                                                    - 30 -
           PLAINTIFFS’ MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION
                                                                          (CASE NO.: 3:19-CV-01537-BEN-JLB)
